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 IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                           PENNSYLVANIA


ROBERT J. TURCO,                          )      CIVIL ACTION NO. 2:19-cv-00174-JFC
                                          )
              Plaintiff,                  )
                                          )
       v.                                 )
                                          )
ZAMBELLI FIREWORKS                        )
MANUFACTURING CO.,                        )
                                          )
              Defendant.                  )


                                   ORDER OF COURT

       AND NOW, this 18th day of June, 2019, it is hereby ORDERED that Plaintiff’s Consent

Motion to Amend Complaint is GRANTED. Plaintiff is permitted to file the proposed First

Amended Complaint attached to the Motion as Exhibit A.



                                                 BY THE COURT:


                                                 ______________________________
                                                 Judge Joy Flowers Conti
                                                 Senior United States District Judge
